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                                          APPENDIX C

                ECU Signals for In-Use Vehicle Testing with Production ECU

For purposes of Paragraph 19.b.3 of this Consent Decree only, Defendants shall collect ECU
data from testing required pursuant to that Paragraph as outlined in this Appendix. Specifically,
for each test required under Paragraph 19.b.3, Defendants shall collect all Priority 1 signals listed
below, or their functional equivalents as listed in the AECD for the applicable Emission
Modification Category, where a signal is present in the software. Defendants shall also
undertake reasonable best efforts to collect the Priority 2 and Priority 3 signals listed below, or
their functional equivalents as listed in the AECD for the applicable Emission Modification
Category, where such signal is present in the software. In the event that Defendants identify
issues during such testing with the collection and/or reliability of the signals due to the data
capacity and bus speed limitation of the controller area network, Priority 2 and 3 signals will be
removed from the collection list, with Priority 3 signals eliminated first.

Measurement with Production ECU via CAN (recommended) or OBD2 port.

                             Sample Signal Data Based on EMC 9

                                                                          Minimum
 Description                                                                               Priority
                                                                          Data Rate
                                         Priority 1 Signals
 Intake Air Flow (MAF)                                                    10ms             1
 Post CAC Pressure                                                        100ms            1
 Intake Temperature                                                       100ms            1
 Post CAC Temperature                                                     100ms            1
 Normalized Intake Temperature                                            100ms            1
 Air Mass Setpoint                                                        10ms             1
 Adjustment to EGR by Post CAC temperature in Normal Mode                 100ms            1
 Adjustment to EGR by CO2 Reduction Strategy                              10ms             1
 Commanded EGR                                                            10ms             1
 EGR Setpoint limitation by Lambda Min / Surge Protection                 10ms             1
 Surge prevention is active/transient                                     100ms            1
 Estimated Exhaust Mass Flow after turbine
                                                                          100ms            1

 Coolant Temperature                                                      100ms            1


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                                                          Minimum
Description                                                             Priority
                                                          Data Rate
Engine Operating States / Mode                            100ms         1
DPF pressure difference                                   10ms          1
Exhaust gas flow volume                                   100ms         1
SCR Dosing Release Conditions                             100ms         1
SCR Dosing State                                          100ms         1
EGR Cooler Bypass Status                                  100ms         1
Actuator EGR-Valve                                        10ms          1
Engine State                                              10ms          1
Coolant Temperature                                       100ms         1
Ambient Pressure                                          100ms         1
Ambient Temperature                                       100ms         1
Engine Speed                                              10ms          1
SCR Downstream NOx Sensor Concentration                   10ms          1
SCR Upstream NOx Sensor Concentration                     10ms          1
DOC inlet temperature                                     100ms         1
DPF inlet temperature                                     100ms         1
SCR Temperature average                                   100ms         1
                                                          Segment
Main Injection Timing                                                   1
                                                          Synchronous
                                                          Segment
Start of Injection Adjustment by CO2 Reduction Strategy                 1
                                                          Synchronous
                                                          Segment
Far Post Injection Proportion                                           1
                                                          Synchronous
                                                          Segment
Close Post Injection Proportion                                         1
                                                          Synchronous
                                                          Segment
Diesel Injection Quantity                                               1
                                                          Synchronous
Boost pressure target                                     10ms          1
DPF Surface Temperature                                   100ms         1
Conditions for PFlt-Regeneration                          100ms         1
DPF Soot Load                                             100ms         1


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                                                           Minimum
Description                                                             Priority
                                                           Data Rate
Rail pressure set point                                    10ms         1
SCR Adaption factor                                        100ms        1
Optimal Adaption factor                                    100ms        1
SCR Adaptation State                                       10ms         1
Global release mask for Adaption                           100ms        1
State of Fast Adaption                                     100ms        1
Status NOx-Sensor SCR upstream                             100ms        1
NOx-Sensor SCR downstream massflow                         100ms        1
SCR Upstream Temperature                                   100ms        1
State reset of optimal Adaption factor                     100ms        1
Statemask reset of Fast Adaption                           10ms         1
NOEA State                                                 100ms        1
EGR delayed activation in overrun for NOx sensor monitor   100ms        1
NOx-Sensor SCR upstream Concentration for Dosing Control   100ms        1
SCRFFC Dosing Mode Bits                                    100ms        1
SCRFFC Dosing Mode                                         100ms        1
SCR total dosing amount request                            100ms        1
SCR Target NH3 Fill Level                                  100ms        1
SCR total dosing amount                                    100ms        1
SCR Estimated Conversion Efficiency                        100ms        1
DOC aging factor for HC oxidation                          100ms        1
SCR Estimated NH3 Fill Level                               100ms        1
SCR Estimated NO2:NOx Ratio                                100ms        1
NOx-Sensor SCR upstream massflow                           100ms        1
Normalized ATS Performance                                 100ms        1
Surge prevention is active/highly transient                100ms        1
Actuator Throttle-Valve                                    10ms         1
Transmission Gear                                          100ms        1

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                                                             Minimum
Description                                                                Priority
                                                             Data Rate
Actuator Turbocharger LP                                     10ms          1
Actuator Turbocharger HP                                     10ms          1
Vehicle Speed                                                100ms         1
Base Swirl valve set point Normal mode                       100ms         1
                                     Priority 2 Signals
Adjustment to EGR by Cold/Hot Engine Operation normal mode   100ms         2
Fault memory information                                     100ms         2
Fault memory information                                     100ms         2
DPF inlet pressure                                           100ms         2
EGR Cooler bypass reason                                     100ms         2
                                                             Segment
Base Start of injection timing Normal mode                                 2
                                                             Synchronous
                                                             Segment
Base Start of injection timing CldStrt mode                                2
                                                             Synchronous
                                                             Segment
Pilot 1 Injection Proportion                                               2
                                                             Synchronous
                                                             Segment
Pilot 2 Injection Proportion                                               2
                                                             Synchronous
Status flag DPF regeneration                                 100ms         2
Continuous simulated Soot mass                               100ms         2
Distance since last regeneration                             100ms         2
Swirl valve position                                         100ms         2
NOx mass for calculation of optimal Adaption factor          100ms         2
Status NOx-Sensor SCR downstream                             100ms         2
Output values Fast Adaption                                  100ms         2
State Refill signal freeze active                            100ms         2
SCR Alternate PreCtl Target Efficiency                       100ms         2
SCR catalyst aging factor                                    100ms         2
DPF condition Value for PM/CO2/NOx Tradeoff Strategy         100ms         2
SCR efficiency measured average OBD in Dosing                100ms         2



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                                                                  Minimum
Description                                                                     Priority
                                                                  Data Rate
SCR efficiency threshold OBD in Dosing                            100ms         2
                                      Priority 3 Signals
Air path adaption state Idle                                      100ms         3
Air path adaption state Load 2                                    100ms         3
Air path adaption state Load 1                                    100ms         3
Air Mass Setpoint correction by Post CAC temperature in CldStrt
                                                                  10ms          3
Mode
Air Mass Setpoint correction by coolant temperature in CldStrt
                                                                  10ms          3
Mode
Adjustment to EGR by Post CAC temperature in CldStrt Mode         10ms          3
Base EGR set point CldStrt mode                                   10ms          3
Base IGR set point normal mode                                    10ms          3
Final IGR/EGR set point before IGR to EGR calculation and
                                                                  10ms          3
limitation
Adjustment to EGR by Cold Engine Operation CldStrt mode           10ms          3
Fault memory information                                          100ms         3
Ageing DOC factor                                                 100ms         3
Ageing DPF factor                                                 100ms         3
Expected difference pressure                                      100ms         3
Vehicle odometer                                                  100ms         3
Start of Injection Adjustment by Engine temperature in CldStrt    Segment
                                                                                3
mode                                                              Synchronous
Start of Injection Adjustment by Engine temperature in CldStrt    Segment
                                                                                3
mode                                                              Synchronous
Start of Injection Adjustment for stabilization by engine         Segment
                                                                                3
temperature and time after start                                  Synchronous
                                                                  Segment
Base Pilot 1 injection quantity Normal mode                                     3
                                                                  Synchronous
                                                                  Segment
Base Pilot 1 injection quantity CldStrt mode                                    3
                                                                  Synchronous
                                                                  Segment
Base Pilot 2 injection quantity Normal mode                                     3
                                                                  Synchronous
                                                                  Segment
Base Pilot 2 injection quantity CldStrt mode                                    3
                                                                  Synchronous
DPF Simulation active                                             100ms         3

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                                                             Minimum
Description                                                              Priority
                                                             Data Rate
Base rail pressure set point Normal mode                     10ms        3
Base rail pressure set point CldStrt mode                    10ms        3
Rail Pressure                                                10ms        3
Adaption factor in PreCtl Mode                               100ms       3
Release of Adaption                                          100ms       3
Requestmask of Fast Adaption                                 100ms       3
Calculated SCR efficiency based on NOx sensors               100ms       3
SCR Feed Forward Dosing Estimate                             100ms       3
Stoichiometric Factor NH3 to NOx                             100ms       3
SCRFFC Bit 13 Integrator Value                               100ms       3
SCRFFC Bit 12 Temperature Thresholds                         100ms       3
SCRFFC Bit 12 Temperature Thresholds                         100ms       3
SCR Dosing Adjustment Applied by Load Governor               100ms       3
Maximum possible NH3 Dosing amount limited by hydrolysis     100ms       3
DPF aging factor for NO2 generation                          100ms       3
Maximum possible NH3 Load                                    100ms       3
Estimated NOx Downstream Emission                            100ms       3
Factor for PM/CO2/NOx Tradeoff Strategy based on DOC inlet
                                                             100ms       3
Temp and DOC aging
Factor for PM/CO2/NOx Tradeoff Strategy based on SCR Cat
                                                             100ms       3
Temp and DPF condition value
SCR Fill Level Adjustment (Heat Flux Integrator)             100ms       3
SCR Downstream Temperature                                   100ms       3
Enhanced DOC temperature                                     100ms       3
Final corrected Swirl valve set point Normal mode            100ms       3
Final corrected Swirl valve set point CldStrt mode           100ms       3
SCR efficiency measured average OBD in PreCtl                100ms       3
SCR efficiency threshold OBD in PreCtl                       100ms       3




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